                                     Case 20-66554-bem           Doc 22       Filed 10/17/20 Entered 10/17/20 13:03:48                     Desc
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:          20-66554 BEM                                                              Trustee: (300370)           Edwin K. Palmer
Case Name:            G2G COLLECTION, LLC                                                       Filed (f) or Converted (c): 05/20/20 (f)
                                                                                                §341(a) Meeting Date:       06/23/20
Period Ending:        09/30/20                                                                  Claims Bar Date:

                                 1                                           2                         3                          4                    5                     6

                       Asset Description                                 Petition/            Estimated Net Value             Property            Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,       Abandoned            Received by       Administered (FA)/
                                                                          Values            Less Liens, Exemptions,      OA=§554(a) abandon.       the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)                                                    Remaining Assets

 1       www.g2gcollection.com.                                              Unknown                       Unknown                                          0.00              Unknown

 2       A/R 90 days old or less                                             Unknown                       Unknown                                          0.00              Unknown

 3       Office Furniture                                                    2,000.00                       2,000.00             OA                         0.00                    FA

 4       Customer list of charity clients                                    Unknown                       Unknown                                          0.00              Unknown

 5       Other machinery, equipment                                          Unknown                       Unknown                                          0.00              Unknown

 6       SalesForce database                                                 Unknown                       Unknown                                          0.00              Unknown

 6       Assets             Totals (Excluding unknown values)               $2,000.00                      $2,000.00                                       $0.00                  $0.00


     Major Activities Affecting Case Closing:
              Follow proof of claim filed in Chapter 11, Adam Capes, Debtor, Case No. 20-68493-BEM. Investigation of potential avoidable transfers and potential insider claim
              against Chapter 11 Debtor.

     Initial Projected Date Of Final Report (TFR): September 30, 2021                       Current Projected Date Of Final Report (TFR): September 30, 2021




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